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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF GEORGIA
                             VALDOSTA DIVISION

UNITED STATES OF AMERICA,                     :
                                              :
v.                                            :
                                              :          Case No.: 7:21-CR-00021 (WLS-TQL-1)
                                              :
NYIESHA FORD,                                 :
                                              :
                                              :
       Defendant.                             :
                                              :
                                             ORDER
       Before the Court is a “Joint Motion for Continuance” filed by the Parties in the above-
styled action on September 20, 2021. (Doc. 48.) Therein, the Parties requests that the Court
continue this case to the next available trial term. (Id.) In support of the request to continue
this case, the Parties assert that counsel for Defendant Ford needs additional time to confer
with Defendant Ford on the charges, review case materials, investigate the charge, and
formulate a defense. (Id.) In addition, the Parties seek additional time for the opportunity to
“pursue plea negotiations in lieu of trial.” (Id.)
       The Speedy Trial Act permits a district court to grant a continuance of the trial so long
as the court makes findings that the ends of justice served by ordering a continuance outweigh
the best interest of the public and the defendant in a speedy trial. 18 U.S.C. § 3161(h)(7)(A).
Section 3161(h)(7)(B) provides a number of factors the Court must consider when granting a
continuance. United States v. Ammar, 842 F.3d 1203, 1206 (11th Cir. 2016). Among those factors
are the likelihood that the lack of a continuance will result in a miscarriage of justice and the
likelihood that failure to grant a continuance would deprive the defendant continuity of
counsel or reasonable time necessary for effective preparation. 18 U.S.C. § 3161(h)(7)(B).
       The Court finds that the failure to grant a continuance would likely result in a
miscarriage of justice, see 18 U.S.C. § 3161(h)(7)(B)(i), and would likely deny the Defendant’s
counsel the reasonable time necessary for effective preparation, taking into account the
exercise of due diligence, see 18 U.S.C. § 3161(h)(7)(B)(iv). Accordingly, the Court finds that


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the ends of justice served by continuing trial outweigh the best interest of the public and the
Defendant’s in a speedy trial. 18 U.S.C. § 3161(h)(7)(A).
       Based on the above-stated reasons, the Court finds good cause to grant a continuance.
Therefore, the Joint Motion for a Continuance (Doc. 48) is GRANTED. The Court finds
that failure to grant the requested continuance would deny Defendant necessary preparations
for trial, even assuming due diligence, and would likely result in a miscarriage of justice. It is
ORDERED that the case is CONTINUED to the February 2022 trial term in Valdosta,
Georgia, which begins February 7, 2021, unless otherwise ordered by the Court. The Court
further ORDERS that the time from the date of this Order to the conclusion of the February
2022 Trial Term is EXCLUDED FROM COMPUTATION under the Speedy Trial Act
pursuant to 18 U.S.C. § 3161(h)(7).


       SO ORDERED, this 22nd day of September 2021.

                                             /s/ W. Louis Sands
                                             W. LOUIS SANDS, SR. JUDGE
                                             UNITED STATES DISTRICT COURT




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